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               IN THE UNITED STATES DISTRICT COURT FOR THE
             WESTERN DISTRICT OF TENNESSEE, WESTERN DIVISION

50 NORTH FRONT ST. TN, LLC.                                  )
                                                             )
       Plaintiff/Counter-Defendant,                          )
                                                             )
v.                                                           )       CASE NO. 2:21-cv-02433
                                                             )
RAYMOND JAMES & ASSOCIATES, INC.                             )
                                                             )
       Defendant/Counter-Plaintiff.                          )


                   NOTICE OF DEFENDANT/COUNTER-PLAINTIFF’S
                        RULE 26(a)(1) INITIAL DISCLOSURES


       Comes now Defendant/Counter-Plaintiff, Raymond James & Associates, Inc., and

respectfully gives notice that it served its Rule 26(a)(1) Initial Disclosures on Plaintiff/Counter-

Defendant pursuant to the Court’s October 4th Order (ECF 23).



                                              Respectfully submitted,

                                              Raymond James & Associates, Inc.
                                              By Its Attorneys,


                                               /s/ Kyle Johnson

                                              Niel Prosser (TN #11647)
                                              Rob Clapper (TN #34180)
                                              Kyle Johnson (TN # 36066)

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                                                            – and –


                                             BAKER, DONELSON, BEARMAN, CALDWELL &
                                             BERKOWITZ, PC

                                              /s/ John Branson

                                             John Branson (BPR No. 10913)
                                             Clinton Simpson (BPR No. 20284)
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                                             Attorneys for Raymond James


                                CERTIFICATE OF SERVICE

I hereby certify that a true copy of the “Notice Of Defendant/Counter-Plaintiff’s Rule 26(A)(1)

Initial Disclosures” has been sent to counsel for the Plaintiff/Counter-Defendant by the Court ECF

System this 18th day of October, 2021.



                                              /s/ Kyle Johnson
                                             Kyle Johnson
